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UNITED STATES DISTRICT COURT
                                                                                           November 6, 2020
SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------- x
                                                             :
 SEATTLE PACIFIC INDUSTRIES, INC.,
                                                             :
                                     Plaintiff,              :
                                                             :
                                                             :     20-mc-178 (ALC)
                        -against-
                                                             :
                                                             :     ORDER
 S3 HOLDING LLC AND OLIVIA
 MILLER, INC.,                                               :
                                                             :
                                     Defendants.
 ---------------------------------------------------------   x

ANDREW L. CARTER, JR., United States District Judge:

        Plaintiff, Judgement Creditor, moves to compel Bank Leumi USA to answer information

subpoenas with restraining notices. (ECF No. 13). On October 5, 2020, the Court issued an Order

to Show Cause why an Order should not be issued compelling Bank Leumi to respond to

information subpoenas with restraining notices. (ECF No. 11). To date, Bank Leumi has failed to

respond to the Order to Show Cause.

        Accordingly, the Court grants plaintiff’s motion to compel. Pursuant to Rules 37, 45 and

69 of the Federal Rules of Civil Procedure and Rules 5222, 5223, 5224(a), and 2308(b) of the New

York Civil Practice Law and Rules, Bank Leumi is directed to respond to the information

subpoenas with restraining notices served upon Bank Leumi on June 22, 2020. The Court awards

Plaintiff the requested $50 in costs in connection with its motion to compel.

SO ORDERED.

Dated: November 6, 2020                                      ___________________________________
       New York, New York                                         ANDREW L. CARTER, JR.
                                                                  United States District Judge
